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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION AT COLUMBUS

 IN RE:                                           *       CASE NO: 23-53043
                                                  *       (Chapter 11)
          Welcome Group 2, LLC1                   *
                                                  *       (Judge Mina Nami Khorrami)
                                                  *
          Debtor/Debtor-in-Possession.            *       (Jointly Administered)


        NOTICE OF EMERGENCY MOTION BY THE DEBTORS/DEBTORS-IN-
      POSSESSION FOR AN ORDER AUTHORIZING CONTINUED USE OF CASH
           COLLATERAL AND PROVIDING ADEQUATE PROTECTION

        Welcome Group 2, LLC1, Debtor and Debtor in Possession ("Debtor"), has filed an
 Emergency Motion for the entry of an order for an Order Authorizing use of Cash Collateral and
 Providing Adequate Protection, a copy of which is attached hereto.

        Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have one in this bankruptcy case. If you do not have an
 attorney, you may wish to consult one.

        If you do not want the Court to grant the Motion, then on or before twenty-one (21) days
 from the date set forth in the Certificate of Service for the Motion, you must file with the
 Court a response explaining your position by mailing your response by regular U.S. Mail to:

          U.S. Bankruptcy Court, 120 West Third Street, Dayton, OH 45402

 OR your attorney must file a response using the Court’s ECF system.

       If you mail your request and response to the Court for filing, you must mail it early
 enough so the Court will receive it on or before the date stated above.

         You must also send a copy of your response either by 1) the Court’s ECF system or 2)
 regular U.S. Mail to:

       Thomsen Law Group, LLC, Counsel for Debtor, 140 North Main Street, Suite A,
 Springboro, OH 45066

          Office of the U.S. Trustee, 170 North High Street, Columbus, OH Suite 200, 43215


 1
  Debtors include Welcome Group, LLC, Dayton Hotels, LLC (Case No. 23-53044) and Hilliard Hotels, LLC (Case
 No. 23-53045)

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        If you or your attorney do not take these steps, the Court may decide that you do not
 oppose the relief sought in the Motion and may enter an order granting that relief without further
 hearing or notice.

 PLEASE TAKE NOTICE THAT THE DEBTOR HAS FILED A MOTION FOR AN
 EXPEDITED HEARING TO CONSIDER CERTAIN THIS MOTION. THE DEBTORS
 SHALL SERVE NOTICE OF THE EXPEDITED HEARING DATE PURSUANT TO
 FURTHER ORDER(S) OF THIS COURT.



 Date of Service: November 30, 2023           /s/ Ira H. Thomsen
                                              Ira H. Thomsen (0023965)
                                              Darlene E. Fierle (0081217)
                                              Denis E. Blasius (0082617)
                                              140 North Main Street, Suite A
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                                              dblasius@ihtlaw.com
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                                              Thomsen Law Group, LLC
                                              Counsel for Debtors/Debtors-in-Possession




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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION AT COLUMBUS


 IN RE:                                           *       CASE NO: 23-53043
                                                  *       (Chapter 11)
          Welcome Group 2, LLC, et., al.2         *
                                                  *
                                                  *       (Judge Mina Nami Khorrami)
                                                  *
          Debtor/Debtor-in-Possession.            *       (Jointly Administered)


        EMERGENCY MOTION BY THE DEBTORS/DEBTORS-IN-POSSESSION
            FOR ORDERS UNDER 11 U.S.C. §§ 105(a), 361, 362 AND 363,
  FEDERAL BANKRUPTCY RULES 2002, 4001 AND 9014, AND LOCAL RULE 4001-2:
   (I) AUTHORIZING DEBTOR TO CONTINUE TO USE CASH COLLATERAL; (II)
 GRANTING ADEQUATE PROTECTION; (III) SCHEDULING AND APPROVING THE
             FORM AND METHOD OF NOTICE OF HEARING; AND
                     (IV) GRANTING RELATED RELIEF


          The above captioned debtors and debtors-in-possession herein (collectively, the

 “Debtors”), by and through proposed counsel, and hereby respectfully move this Court for the

 entry of an Order Authorizing the Debtors to continue to use cash collateral of, and to provide

 adequate protection to, RSS WFCM2019-C50 – OH WG2, LLC c/o Rialto Capital Advisors,

 LLC3 (the “Secured Lender”), along with other requested relief (the “Motion”), pursuant to the

 provisions of 11 U.S.C. §§ 105, 361, and 363 Federal Rules of Bankruptcy Procedure, Rules

 2002, 4001, 6004 and 9014 and Local Bankruptcy Rules 4001-1, 4001-2 and 6004-1, in

 substantially the form attached hereto as Exhibit “A” and a revised cash collateral budget (the

 “Revised Budget,” a copy of which is attached as Schedule 1 to Exhibit “A” hereto).


 2
   The Debtors are Welcome Group 2, LLC (Case No. 23-53043), Dayton Hotels, LLC (Case No. 23-53044), and
 Hilliard Hotels, LLC (Case No. 23-53045).
 3
   RSS WFCM2019-C50 – OH WG2, LLC is the successor in interest to UBS AG. RSS WFCM2019-C50 – OH
 WG2, LLC and UBS AG are referred to collectively herein as “Secured Lender”.

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        The disclosure of information required pursuant to Bankruptcy Rule 4001(B) and Local

 Bankruptcy Rule 4001-2 is contained in the Motion for Interim Order (I) Authorizing Debtor to

 use Cash Collateral; (II) Granting Adequate Protection; (III) Modifying the Automatic Stay; (IV)

 Scheduling and Approving the Form and Method of Notice of Final Hearing; and (V) Granting

 Related Relief (the “Cash Collateral Motion”) (Doc. 15). A true and accurate copy of the Cash

 Collateral Motion is attached hereto as Exhibit “B” and is incorporated by reference herein.


 The Debtor is separately filing a motion requesting an expedited hearing on the relief
 requested in this filing and to reduce the deadline for objections hereto. The time in
 which to respond to this motion or application will be set forth in a separate Order of
 this Court (on the motion for expedited hearing or disposition) and shall be served as
 required by the Court.


        A Memorandum In Support is attached.
                                              Respectfully Submitted

                                              /s/ Ira H. Thomsen
                                              Ira H. Thomsen (0023965)
                                              Darlene E. Fierle (0081217)
                                              Denis E. Blasius (0082617)
                                              140 North Main Street, Suite A
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                                              937-748-5001
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                                              ithomsen@ihtlaw.com
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                                              Thomsen Law Group, LLC
                                              Counsel for Debtors/Debtors-in-Possession




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                                        MEMORANDUM

        1.      On September 1, 2023, ("the Petition Date"), the Debtors filed voluntary petitions

 in this Court for reorganization relief under Chapter 11 of Title 11 of the United States Code

 ("the Bankruptcy Code"). The Debtors intend to operate their businesses as a Debtor-in-

 Possession under Sections 1107(a) and 1108 of the Bankruptcy Code.

        2.      No creditors' committee has yet been appointed in this case by the United States

 Trustee. No trustee or examiner has been appointed in the Debtor’s Chapter 11 case.

        3.      The Debtors filed these Chapter 11 proceedings in order to reorganize their debts

 and maintain their operations and employees.

        4.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and

 1334. Venue is proper pursuant to 28 U.S.C. §§1408 and 1409. The subject matter of this Motion

 is a core proceeding pursuant to 27 U.S.C. § 157(b).

        5.      The statutory predicates for the relief requested herein are Sections 105(a), 361,

 363, and 364 of the Bankruptcy Code, Federal Bankruptcy Rules 2002, 4001, 6004, and 9014,

 and Local Bankruptcy Rules 4001-2 and 6004-1.

        6.      InnViteOpco, Inc., owned solely by Abhijit (Andy) Vasani is the sole member

 and the manager of each of the Debtors. Each of the Debtors own a hotel located in Southwest

 Ohio. Debtor Welcome Group 2, LLC owns and operates the Super 8 located at 2440 National

 Road, Zanesville, Ohio 43701. Debtor Hillard Hotels, LLC owns and operates the Hampton Inn

 located at 1600 Hampton Court, Sidney, OH 45365. Debtor Dayton Hotels, LLC owns and

 operates the Hotel at Dayton South located at 8099 Old Yankee Road, Dayton, Ohio 45458.

        7.      The factual background regarding the Debtor, including its business operations

 and the events leading to this Chapter 11 Case, is set forth in the Declaration of Andy Vasani in


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 Support of Chapter 11 Petition and First Day Motions (the “First Day Declaration”) filed

 contemporaneously herewith, which is incorporated herein by reference.

         8.      On September 6, 2023, the Debtors filed their Motion for Interim Order (I)

 Authorizing Debtor to use Cash Collateral; (II) Granting Adequate Protection; (III) Modifying

 the Automatic Stay; (IV) Scheduling and Approving the Form and Method of Notice of Final

 Hearing; and (V) Granting Related Relief (the “Cash Collateral Motion”) (Doc. 15).4

         9.      On September 14, 2023, the Court entered the INTERIM ORDER PERMTTING

 USAGE OF CASH COLLATERAL AND PROVDING ADEQUATE PROTECTION TO

 PURPORTED SECURED CREDITORS FOR THIS USAGE AND SCHEDULING A FINAL

 HEARING ON USAGE OF CASH COLLATERAL (Doc. 58).

         10.     On October 31, 2023, the Court entered the FINAL ORDER PERMTTING USAGE

 OF CASH COLLATERAL AND PROVDING ADEQUATE PROTECTION TO PURPORTED

 SECURED CREDITORS FOR THIS USAGE (the “Order”) (Doc. 118)

         11.     The Order authorized use of cash collateral to pay expenses as set forth in the

 budget attached thereto as Schedule 1 (the “Budget”), among other conditions. The Budget

 period commenced on the petition date and continues until December 3, 2023.

         12.     As adequate protection for any diminution in the value of the Secured Lender’s

 asserted interests in the Cash Collateral, the Order required the Debtor to make payments to the

 Secured Lender of $36,000.00 per month as set forth in the Budget. The Order also required

 Debtor to make scheduled payments of interest and principal to the Small Business

 Administration.


 4
  Corresponding Motions were filed by Dayton Hotels, LLC (Case No. 23-53044), and Hilliard Hotels, LLC (Case
 No. 23-53045). Joint Administration of these three cases was ordered on September 16, 2023 (Doc. 68).


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        13.     The Debtor has made all payments to the Secured Lender and the Small Business

 Administration as required by the Order.

        14.     Counsel for the Debtors initiated communication with counsel for Secured Lender

 on November 17, 2023 to discuss continued use of Cash Collateral. On November 22, 2023,

 counsel for Debtors and counsel for Secured Lender were able to speak over the phone regarding

 the request. Debtor proposed making the same payments to Secured Lender and submitted a

 revised budget reflecting same. Secured Lender requested some additional language be added to

 any agreed order for continued use of Cash Collateral, to which Debtor agreed at the time.

 Counsel for Secured Lender informed counsel for Debtors that Secured Lender would be unable

 to review the revised budget until Monday November 27, 2023, but did not expect the request to

 be an issue. After several attempts at communication this week, Debtors were informed after

 business hours on November 29, 2023 that Secured Lender would not agree to continued use of

 Cash Collateral. Secured Lender cited several questions regarding the October monthly operating

 reports, which reports were timely filed on November 21, 2023. Debtors are working on these

 requests, but the Secured Lender has not agreed to continued use of Cash Collateral in the

 interim, and use of Cash Collateral expires December 3, 2023.

        15.     Accordingly, the Debtor respectfully requests that this Court enter an order in

 substantially the form attached hereto as Exhibit “A” hereto, authorizing continued use of Cash

 Collateral, pursuant to the terms and conditions stated therein and in accordance with the budget

 attached thereto as Schedule “1” (the “Revised Budget”).



                                      RELIEF REQUESTED

        16.     It is imperative that the Debtors obtain authority for continued use of cash

 collateral in order to continue funding necessary business expenses and to fund the costs
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 associated with the administration of this case. The Debtors have set forth a proposed order (the

 “Proposed Order”, a copy of which is attached hereto as the Exhibit “A”) and a revised cash

 collateral budget (the “Revised Budget”, a copy of which is attached as Schedule 1 to the

 Proposed Order) providing for the use of Cash Collateral, and authorizing the terms and

 conditions of the Debtors’ continued use of Cash Collateral.

         17.        The Debtors commenced this case with the goal of restructuring its debts and

 obligations in such a manner that provides maximum return to the creditor constituents while

 maintaining operations. To accomplish this goal, however, the Debtors will require the continued

 use of cash collateral through plan confirmation. Without the use of this cash collateral, the

 Debtor would be required to terminate all business operations, which would, in turn, result in the

 loss of employees’ jobs and significant diminution in the value of the Debtor as a going concern.



                                           BASIS FOR RELIEF

         18.        Section 363(a) of the Bankruptcy Code provides that for purposes
 of that section:

                    “cash collateral” means cash, negotiable instruments, documents
                    of title, securities, deposit accounts, or other cash equivalents
                    whenever acquired in which the estate and an entity other than the
                    estate have an interest and includes the proceeds, products,
                    offspring, rents, or profits of property and the fees, charges,
                    accounts or other payments for the use or occupancy of rooms and
                    other public facilities in hotels, motels, or other lodging properties
                    subject to a security interest as provided in section 552(b) of this
                    title, whether existing before or after the commencement of a case
                    under this title.
         19.        By this Motion, the Debtors request authority to continue to use cash collateral

 pursuant to the terms set forth in the Proposed Order. The Debtors have made all adequate

 protection payments pursuant to the Order. The Cash Collateral Motion sets forth the rights

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 asserted by Secured Lender. The terms of the Proposed Order are substantially similar to the

 current Order authorizing use of Cash Collateral (Doc. 120), however the Revised Budget

 permits use of Cash Collateral for an additional 13 week period.

        20.     Under Section 363(c)(2) of the Bankruptcy Code, the Debtor may not use cash

 collateral without the consent of the secured creditor or authority granted by the Court. Secured

 Lender has informed Debtors that it does not consent to continued use of Cash Collateral. As

 such, the Debtor is seeking authority from this Court.

        21.     The Debtors’ continued use of cash collateral, including the Debtor's agreement to

 provide replacement liens and other assurances as adequate protection in connection with such

 use, is authorized pursuant to § 363(c) of the Bankruptcy Code. Section 363(c)(1) of the

 Bankruptcy Code provides as follows: “If the business of the debtor is authorized to be operated

 under section 721, 1108, 1183, 1184, 1203, 1204 or 1304 of this title and unless the court orders

 otherwise, the trustee may enter into transactions, including the sale or lease of property of the

 estate, in the ordinary course of business without notice or a hearing, and may use property of the

 estate in the ordinary course of business without notice or a hearing.” However, section 363(c)(2)

 provides that the Debtor’s use of cash collateral is prohibited unless “(A) each entity that has an

 interest in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes

 such use, sale, or lease in accordance with the provisions of this section.”



                  USE OF CASH COLLATERAL SHOULD BE APPROVED

        22.     Debtor desires to continue to use cash collateral as defined in Section 363(a) of

 the Bankruptcy Code (the “Cash Collateral”) and provide adequate protection to the Secured

 Lender.


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          23.   The determination of adequate protection is a fact-specific inquiry to be decided

 on a case-by-case basis. See In re Mosello, 195 B.R. 277, 288 (Bankr. S.D.N.Y. 1996); In re

 O'Connor, 808 F.2d 1393, 1396-97 (10th Cir. 1987). Adequate protection can be provided in a

 number of ways (see, e.g., 11 U.S.C. § 361), with the focus being to protect a secured creditor

 from diminution in the value of its interest in the collateral during the period of use. See In re

 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (purpose of adequate

 protection is "to safeguard the secured creditor from diminution in the value of its interest during

 the Chapter 11 reorganization"); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y.

 1986).

          24.   Debtors and Secured Lender previously agreed to the use of the Cash Collateral

 pursuant to the current Order. Debtors have complied with all terms of that Order, however

 Secured Lender will not consent to continued use of Cash Collateral, under the same terms and

 same adequate protection payment amount as the current Order. Though the Revised Budget will

 reflect a loss during this period, this is typical for hotels in the Dayton and Columbus areas

 during this season. Debtors plan for this every year, and have adequate reserves on hand to

 meet all budget requirements and continue to make adequate protection payments to

 Secured Lender. Debtors need authority to continue to use the Cash Collateral to fund ongoing

 business operations. The Debtor intends to continue provide sufficient adequate protection to

 Secured Lenders in the same manner as required by the previous Order, and as more fully set

 forth herein and in the Proposed Order.

          25.   Adequate protection is provided to Secured Lender by the Debtors by using Cash

 Collateral only in accordance with the Revised Budget (except as otherwise authorized by this

 Court) and by making the payments to Secured Lender as stated therein. Adequate protection is


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 also provided by the re-granting of the pre-petition security interests to Secured Lender (not to

 extend beyond the collateral that secured the Loan from Secured Lenders pre-petition).

          26.   In the event the Debtors are not permitted to use Cash Collateral, they will be

 unable to pay their necessary obligations to conduct business operations, and its employees will

 be severely impacted. In short, the failure to utilize Cash Collateral will result in immediate and

 irreparable harm to the Debtors.

          27.   The Revised Budget details the necessary expenditures for the continued

 operations and viability of the Debtors, including the proposed adequate protection payments.

          28.   The Debtors prepared the Revised Budget using historical data and the current

 state of affairs. The Debtors assert that the Revised Budget is feasible and the expenses stated

 therein are reasonable and necessary for the continued operation and viability of the Debtors.

 The Revised Budget is based upon the best information available to the Debtors and the Debtors’

 principal.

          29.   Therefore, the Debtors request that the Court consider entry of the Proposed

 Order.

                       COMPLIANCE WITH LOCAL RULE 4001-2(B)

          30.   Pursuant to Local Rule 4001-2(b), Debtor states that none of the terms included in

 the Proposed Order contain any of the provisions set forth in Local Rule 4001-2(b)(2)(A) through

 (b)(2)(Q).

                                     NO PRIOR REQUEST

          31.   No previous request for the relief sought herein has been made to this Court or

 any other court for the Revised Budget period.




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                                              NOTICE

        32.     Notice of this Motion will be provided to: (i) the Columbus office of the United

 States Trustee for Region 9: Southern District of Ohio; (ii) RSS WFCM2019-C50 – OH WG2,

 LLC, by and through counsel to its special service Rialto Capital, Advisors, LLC; (iii) the United

 States Small Business Administration; (iv) U.S. Attorney Columbus, (v) U.S. Attorney General,

 (vi) U.S. Foods, Inc. (vii) Itria Ventures, LLC, and (viii) each of the Debtors’ largest 20

 unsecured creditors. In light of the nature of the relief requested herein, the Debtor submits that

 no other or further notice is required. Because of the irreparable harm that threatens the

 Debtors if the relief requested herein is not timely granted, the Debtors have requested that

 an expedited hearing be held to consider this Motion and to approve the notice provided

 herein. A copy of the Motion will be served upon the parties noted above via telecopier, e-mail,

 ECF transmission, or overnight delivery, delivery prepaid, as soon as practicable after the entry

 of an order approving the form and manner of the Notice or as otherwise ordered by the Court.



 Please take notice that the Debtor has filed a Motion for an Expedited Hearing to consider

 this Motion. The Debtors shall serve notice of the expedited hearing date pursuant to

 further order(s) of this Court.



        For the reasons set forth herein and in the Proposed Order attached hereto as Exhibit “A”,

 Debtor respectfully requests the authority of this Court to authorize it to continue to use cash

 collateral and to enter into the Proposed Order attached hereto as Exhibit “A”.




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                                     Respectfully Submitted:

                                     /s/ Ira H. Thomsen
                                     Ira H. Thomsen (0023965)
                                     Darlene E. Fierle (0081217)
                                     Denis E. Blasius (0082617)
                                     140 North Main Street, Suite A
                                     Springboro, Ohio 45066
                                     937-748-5001
                                     937-748-5003 (Fax)
                                     ithomsen@ihtlaw.com

                                     Thomsen Law Group, LLC
                                     Counsel for Debtors/Debtors-in-Possession




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                                               EXHIBIT “A”
                                             PROPOSED ORDER




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

     In re:                                           *        Case No. 2:23-bk-53043
     WELCOME GROUP 2, LLC, et al.,5                   *        Chapter 11
                                                      *        Judge Mina Nami Khorrami
                              Debtors.                *
                                                      *        Jointly Administered


         ORDER EXTENDING FINAL ORDER PERMITTING USAGE OF CASH
      COLLATERAL AND PROVIDING ADEQUATE PROTECTION TO PURPORTED
               SECURED CREDITORS FOR THIS USAGE (Doc. ___)


              This matter comes before the Court on an expedited basis for the entry of an Order

 Authorizing Continued use of Cash Collateral (the “Motion”) (Doc. __). Having considered the

 Motion, and for good cause shown and it appearing to the Court that it is in the best interests of

 all creditors herein to enter this order, it is hereby,

 5
  The Debtors and the last four digits of their federal tax identification numbers are as follows: Welcome Group 2,
 LLC (6795), Hilliard Hotels, LLC (6063), and Dayton Hotels, LLC (1123). The Debtors’ headquarters are located
 at 5955 E. Dublin Granville Road, New Albany, Ohio 45305.

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        ORDERED that the Final Order Permitting Usage of Cash Collateral and Providing

 Adequate Protection to Purported Secured Creditors For This Usage (Re: Docket No. 15) (Doc.

 118) (the “Final Order”) is hereby extended in accordance with the terms of the Revised Budget

 appended hereto as Schedule 1.



        IT IS SO ORDERED.

 Submitted By:

 /s/ Ira H. Thomsen
 Ira H. Thomsen (0023965)
 Denis E. Blasius (0082617)
 Darlene E. Fierle (0081217)
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 Thomsen Law Group, LLC
 Counsel for Debtors/Debtors-in-Possession




 Copies to: Default List Plus Top 20




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                                                                                                                                                                               SCHEDULE 1
      Super 8/Welcome Group 2Cash Collateral Budget
           Dayton South Cash Collateral Budget
       Hampton Inn/Hilliard Cash Collateral Budget
ojected Income Statement and Usage of Cash Collateral                                                               Total
                                        Dec                Dec                Dec                Dec                                    Jan                Jan                Jan                Jan                Jan                                Feb                Feb                Feb                Feb                Feb
                                                 Week1              Week2              Week3              Week4                                  Week1              Week2              Week3              Week4              Week5                              Week1              Week2              Week3              Week4              Week5
                     Summary

                     Operating
                     Revenue
                     Room
                     Department                49,000.00          49,000.00          49,000.00          49,000.00       196,000.00             38,000.00          38,000.00          38,000.00          38,000.00          38,000.00     190,000.00           33,800.00          33,800.00          33,800.00          33,800.00          33,800.00       169,000.00

                     Total
                     Operating
                     Revenue                 $49,000.00         $49,000.00         $49,000.00         $49,000.00        196,000.00           $38,000.00         $38,000.00         $38,000.00         $38,000.00         $38,000.00     190,000.00          $33,800.00         $33,800.00         $33,800.00         $33,800.00         $33,800.00        $169,000.00

                     Operational
                     Expenses
                     Room
                     Department
                     and Room                   1,500.00           1,500.00           1,500.00           1,500.00            6,000.00            600.00             600.00             600.00             600.00             600.00        3,000.00             600.00             600.00             600.00             600.00             600.00          3,000.00
                                                                                                                                                                                                                                                   -                                                                                                             -
                     Payroll/Contract
                     Wages                     18,900.00          18,900.00          18,900.00         18,900.00            75,600.00          14,000.00          14,000.00          14,000.00          14,000.00          14,000.00      70,000.00           14,000.00          14,000.00          14,000.00          14,000.00          14,000.00        70,000.00
                                                                                                                                                                                                                                                   -                                                                                                             -
                                                                                                                                                                                                                                                   -                                                                                                             -
                      Total
                     Departmental
                     Expenses            $ 20,400.00        $ 20,400.00        $ 20,400.00        $ 20,400.00               81,600.00    $ 14,600.00        $ 14,600.00        $ 14,600.00        $ 14,600.00        $ 14,600.00         73,000.00      $ 14,600.00        $ 14,600.00        $ 14,600.00        $ 14,600.00        $ 14,600.00       $ 73,000.00
                                                                                                                                                                                                                                                   -                                                                                                          -
                     Room
                     Department
                     Income                    27,250.00          27,250.00          27,250.00          27,250.00       109,000.00             23,400.00          23,400.00          23,400.00          23,400.00          23,400.00     117,000.00           19,200.00          19,200.00          19,200.00          19,200.00          19,200.00        96,000.00
                                                                                                                                                                                                                                                   -                                                                                                             -
                     Miscellaneous
                     Income                      750.00             750.00             750.00             750.00             3,000.00            600.00             600.00             600.00             600.00             600.00        3,000.00             600.00             600.00             600.00             600.00             600.00          3,000.00
                                                                                                                                                                                                                                                   -                                                                                                             -
                                                                                                                                                                                                                                                   -                                                                                                             -
                      Total
                     Departmental
                     Income              $ 28,000.00        $ 28,000.00        $ 28,000.00        $ 28,000.00           112,000.00       $ 24,000.00        $ 24,000.00        $ 24,000.00        $ 24,000.00        $ 24,000.00        120,000.00      $ 19,800.00        $ 19,800.00        $ 19,800.00        $ 19,800.00        $ 19,800.00       $ 99,000.00
                                                                                                                                                                                                                                                   -                                                                                                          -
                     Undistributed
                     Operating
                     Expense                                                                                                                                                                                                                       -                                                                                                             -
                     Administrative
                     & General                  9,750.00           9,750.00           9,750.00           9,750.00           39,000.00           7,200.00           7,200.00           7,200.00           7,200.00           7,200.00      36,000.00            6,600.00           6,600.00           6,600.00           6,600.00           6,600.00        33,000.00
                     Information &
                     Telecom
                     System                     2,250.00           2,250.00           2,250.00           2,250.00            9,000.00           1,200.00           1,200.00           1,200.00           1,200.00           1,200.00       6,000.00            1,120.00           1,120.00           1,120.00           1,120.00           1,120.00         5,600.00
                     Property
                     Operations &
                     Maintenance                4,500.00           4,500.00           4,500.00           4,500.00           18,000.00           2,800.00           2,800.00           2,800.00           2,800.00           2,800.00      14,000.00            3,600.00           3,600.00           3,600.00           3,600.00           3,600.00        18,000.00
                     Franchise
                     Fees/Sales and
                     marketing                 12,750.00          12,750.00          12,750.00          12,750.00           51,000.00           9,000.00           9,000.00           9,000.00           9,000.00           9,000.00      45,000.00            7,800.00           7,800.00           7,800.00           7,800.00           7,800.00        39,000.00
                     Utilities                  8,250.00           8,250.00           8,250.00           8,250.00           33,000.00           7,800.00           7,800.00           7,800.00           7,800.00           7,800.00      39,000.00            7,200.00           7,200.00           7,200.00           7,200.00           7,200.00        36,000.00
                                                                                                                                    -                                                                                                              -                                                                                                             -
                                                                                                                                                                                                                                                   -                                                                                                             -
                      Total
                     Undistributed
                     Operating
                     Expense             $ 37,500.00        $ 37,500.00        $ 37,500.00        $ 37,500.00           150,000.00       $ 28,000.00        $ 28,000.00        $ 28,000.00        $ 28,000.00        $ 28,000.00        140,000.00      $ 26,320.00        $ 26,320.00        $ 26,320.00        $ 26,320.00        $ 26,320.00       $ 131,600.00
                                                                                                                                                                                                                                                   -                                                                                                           -
                     Gross
                     Operating
                     Profit             $ (9,500.00)       $ (9,500.00)       $ (9,500.00)       $ (9,500.00)          (38,000.00)       $ (4,000.00)       $ (4,000.00)       $ (4,000.00)       $ (4,000.00)       $ (4,000.00)       (20,000.00)     $ (6,520.00)       $ (6,520.00)       $ (6,520.00)       $ (6,520.00)       $ (6,520.00)      $ (32,600.00)
                                                                                                                                                                                                                                                   -                                                                                                           -
                     Management
                     Fees                       3,250.00           3,250.00           3,250.00           3,250.00           13,000.00           3,250.00           3,250.00           3,250.00           3,250.00           3,250.00      16,250.00            3,250.00           3,250.00           3,250.00           3,250.00           3,250.00        16,250.00
                     Insurance                  3,000.00           3,000.00           3,000.00           3,000.00           12,000.00           2,400.00           2,400.00           2,400.00           2,400.00           2,400.00      12,000.00            2,400.00           2,400.00           2,400.00           2,400.00           2,400.00        12,000.00
                     Professional
                     Fees/Other Fees            3,000.00           3,000.00           3,000.00           3,000.00           12,000.00           2,400.00           2,400.00           2,400.00           2,400.00           2,400.00      12,000.00            2,400.00           2,400.00           2,400.00           2,400.00           2,400.00        12,000.00
                     CAT Tax                                                                                                        -                                                                                                              -                                                                                                             -
                     Capex/Reserve              1,800.00           1,800.00           1,800.00           1,800.00            7,200.00           1,800.00           1,800.00           1,800.00           1,800.00           1,800.00       9,000.00            1,800.00           1,800.00           1,800.00           1,800.00           1,800.00         9,000.00
                     Payments to
                     RSS                        9,000.00           9,000.00           9,000.00           9,000.00           36,000.00           7,200.00           7,200.00           7,200.00           7,200.00           7,200.00      36,000.00            7,200.00           7,200.00           7,200.00           7,200.00           7,200.00        36,000.00
                     Real Estate
                     taxes                    3,600.00           3,600.00           3,600.00           3,600.00             14,400.00         3,600.00           3,600.00           3,600.00           3,600.00           3,600.00        18,000.00          3,600.00           3,600.00           3,600.00           3,600.00           3,600.00          18,000.00
                     SBA EIDL                   2,493.25           2,493.25           2,493.25           2,493.25            9,973.00           1,994.60           1,994.60           1,994.60           1,994.60           1,994.60       9,973.00            1,994.60           1,994.60           1,994.60           1,994.60           1,994.60         9,973.00
                     Misc                       3,000.00           3,000.00           3,000.00           3,000.00           12,000.00           3,000.00           3,000.00           3,000.00           3,000.00           3,000.00      15,000.00            3,000.00           3,000.00           3,000.00           3,000.00           3,000.00        15,000.00
                      Total Other
                     Expense             $ 29,143.25        $ 29,143.25        $ 29,143.25        $ 29,143.25           116,573.00       $ 25,644.60        $ 25,644.60        $ 25,644.60        $ 25,644.60        $ 25,644.60        128,223.00      $ 25,644.60        $ 25,644.60        $ 25,644.60        $ 25,644.60        $ 25,644.60       $ 128,223.00
                      Net
                     Operating          $(38,643.25)       $(38,643.25)       $(38,643.25)       $(38,643.25)         (154,573.00)       $(29,644.60)       $(29,644.60)       $(29,644.60)       $(29,644.60)       $(29,644.60)      (148,223.00)     $(32,164.60)       $(32,164.60)       $(32,164.60)       $(32,164.60)       $(32,164.60)      $(160,823.00)
                      US Trustee
                     Fees                $       348.17     $       348.17     $       348.17     $       348.17             1,392.69    $       272.98     $       272.98     $       272.98     $       272.98     $       272.98        1,364.89     $       266.26     $       266.26     $       266.26     $       266.26     $       266.26    $     1,331.29
                      NET after US
                     Trustee Fees       $ (38,991.42)      $ (38,991.42)      $ (38,991.42)      $ (38,991.42)        (155,965.69)       $ (29,917.58)      $ (29,917.58)      $ (29,917.58)      $ (29,917.58)      $ (29,917.58)      (149,587.89)    $ (32,430.86)      $ (32,430.86)      $ (32,430.86)      $ (32,430.86)      $ (32,430.86)     $(162,154.29)
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EXHIBIT B
                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION AT COLUMBUS


  IN RE:                                          *        CASE NO: 23-53043
                                                  *        (Chapter 11)
           Welcome Group 2, LLC, et., al.1        *
                                                  *
                                                  *        (Judge Mina Nami Khorrami)
                                                  *
           Debtor/Debtor-in-Possession.           *        (Joint Administration Proposed)


         NOTICE OF EMERGENCY MOTION BY THE DEBTORS/DEBTORS-IN-
         POSSESSION FOR AN INTERIM ORDER AUTHORIZING USE OF CASH
             COLLATERAL AND PROVIDING ADEQUATE PROTECTION

         Welcome Group 2, LLC1, Debtor and Debtor in Possession ("Debtor"), has filed a
  Motion for the entry of an order for an Interim Order Authorizing use of Cash Collateral and
  Providing Adequate Protection, a copy of which is attached hereto.

         Your rights may be affected. You should read these papers carefully and discuss
  them with your attorney, if you have one in this bankruptcy case. If you do not have an
  attorney, you may wish to consult one.

         If you do not want the Court to grant the Application, then on or before twenty-one(21)
  days from the date set forth in the Certificate of Service for the Application, you must file
  with the Court a response explaining your position by mailing your response by regular U.S.
  Mail to:

           U.S. Bankruptcy Court, 170 N High St, Columbus, OH 43215

  OR your attorney must file a response using the Court’s ECF system.

        If you mail your request and response to the Court for filing, you must mail it early
  enough so the Court will receive it on or before the date stated above.

          You must also send a copy of your response either by 1) the Court’s ECF system or 2)
  regular U.S. Mail to:

          The Thomsen Law Group, LLC, Proposed Counsel for Debtors, 140 North Main
  Street, Suite A, Springboro, OH 45066

  1
   The Debtors are Welcome Group 2, LLC (Case No. 23-53043), Dayton Hotels, LLC (Case No. 23-53044), and
  Hilliard Hotels, LLC (Case No. 23-53045).

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        Office of the U.S. Trustee, 170 North High Street, Columbus, OH Suite 200, 43215


         If you or your attorney do not take these steps, the Court may decide that you do not
 oppose the relief sought in the Application and may enter an order granting that relief without
 further hearing or notice.

      PLEASE TAKE NOTICE THAT THE DEBTOR HAS FILED A MOTION FOR
 AN EXPEDITED HEARING TO CONSIDER CERTAIN FIRST DAY MOTIONS AND
 APPLICATIONS, INCLUDING THE FOREGOING. THE DEBTOR SHALL SERVE
 NOTICE OF THE EXPEDITED HEARING DATE PURSUANT TO FURTHER
 ORDER(S) OF THIS COURT.


 Date of Service: September 6, 2023         /s/ Ira H. Thomsen
                                            Ira H. Thomsen (0023965)
                                            Darlene E. Fierle (0081217)
                                            Denis E. Blasius (0082617)
                                            140 North Main Street, Suite A
                                            Springboro, Ohio 45066
                                            937-748-5001
                                            937-748-5003 (Fax)
                                            ithomsen@ihtlaw.com
                                            dfierle@ihtlaw.com
                                            dblasius@ihtlaw.com

                                            Thomsen Law Group, LLC
                                            Proposed Counsel for
                                            Debtors/Debtors-in-Possession




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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION AT COLUMBUS


 IN RE:                                           *       CASE NO: 23-53043
                                                  *       (Chapter 11)
          Welcome Group 2, LLC, et., al.2         *
                                                  *
                                                  *       (Judge Mina Nami Khorrami)
                                                  *
          Debtor/Debtor-in-Possession.            *       (Joint Administration Proposed)


         EMERGENCY MOTION BY THE DEBTOR/DEBTOR-IN-POSSESSION FOR
       INTERIM AND FINAL ORDERS UNDER 11 U.S.C. §§ 105(a), 361, 362 AND 363,
     FEDERAL BANKRUPTCY RULES 2002, 4001 AND 9014, AND LOCAL RULE 4001-2:
        (I) AUTHORIZING DEBTOR TO USE CASH COLLATERAL; (II) GRANTING
       ADEQUATE PROTECTION; (III) MODIFYING THE AUTOMATIC STAY; (IV)
       SCHEDULING AND APPROVING THE FORM AND METHOD OF NOTICE OF
                FINAL HEARING; AND (V) GRANTING RELATED RELIEF


          The above captioned debtors and debtors-in-possession herein (collectively, the

 “Debtors”), by and through proposed counsel, and hereby respectfully moves this Court for the

 entry of an Interim Order Authorizing the Debtor to use cash collateral of, and to provide

 adequate protection to, RSS WFCM2019-C50 – OH WG2, LLC c/o Rialto Capital Advisors,

 LLC3 (the “Secured Lender”), along with other requested relief (the “Motion”), pursuant to the

 provisions of 11 U.S.C. §§ 105, 361, and 363 Federal Rules of Bankruptcy Procedure, Rules

 2002, 4001, 6004 and 9014 and Local Bankruptcy Rules 4001-1, 4001-2 and 6004-1, in

 substantially the form attached hereto as Exhibit “A” and a cash collateral budget (the “Budget,”

 a copy of which is attached as Schedule 1 to Exhibit “A” hereto).

 2
   The Debtors are Welcome Group 2, LLC (Case No. 23-53043), Dayton Hotels, LLC (Case No. 23-53044), and
 Hilliard Hotels, LLC (Case No. 23-53045).
 3
   RSS WFCM2019-C50 – OH WG2, LLC is the successor in interest to UBS AG. RSS WFCM2019-C50 – OH
 WG2, LLC and UBS AG are referred to collectively herein as “Secured Lender”.

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 The Debtor is separately filing a motion requesting an expedited hearing on the relief
 requested in this filing and to reduce the deadline for objections hereto. The time in
 which to respond to this motion or application will be set forth in a separate Order of
 this Court (on the motion for expedited hearing or disposition) and shall be served as
 required by the Court.


        A Memorandum In Support is attached.
                                            Respectfully Submitted

                                            /s/ Ira H. Thomsen
                                            Ira H. Thomsen (0023965)
                                            Darlene E. Fierle (0081217)
                                            Denis E. Blasius (0082617)
                                            140 North Main Street, Suite A
                                            Springboro, Ohio 45066
                                            937-748-5001
                                            937-748-5003 (Fax)
                                            ithomsen@ihtlaw.com
                                            dfierle@ihtlaw.com
                                            dblasius@ihtlaw.com

                                            Thomsen Law Group, LLC
                                            Proposed Counsel for
                                            Debtors/Debtors-in-Possession




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              DISCLOSURE OF INFORMATION PURSUANT TO BANKRUPTCY RULE
                     4001(B) AND LOCAL BANKRUPTCY RULE 4001-2(B)

          Category                                                     Summary and Location
          Entities with a purported interest in                        RSS WFCM2019-C50 – OH WG2, LLC.
          cash collateral4                                             Purported interest in cash collateral of
          (Bankruptcy Rule 4001(b)(1)(B)(i))                           Debtors Hillard Hotels, LLC (“Hilliard”),
                                                                       Dayton Hotels, LLC (“Dayton South”),
                                                                       Welcome Group 2, LLC (“Welcome”) as
                                                                       discussed in paragraphs 13 - 19, 22 - 25,
                                                                       and 29 - 32 below, and in the documents
                                                                       referenced therein.

                                                                       Small Business Administration –
                                                                       Purported interest in cash collateral of
                                                                       Hilliard as discussed in paragraphs 20
                                                                       below, and in the documents referenced
                                                                       therein.

                                                                       Small Business Administration –
                                                                       Purported interest in cash collateral of
                                                                       Dayton South as discussed in paragraphs
                                                                       26 below, and in the documents referenced
                                                                       therein.

                                                                       Itria Funding LLC – Purported interest in
                                                                       cash collateral of Hilliard, Dayton South,
                                                                       and Welcome, as discussed in paragraphs
                                                                       21, 27, and 33 below, and in the
                                                                       documents referenced therein.

                                                                       U.S. Foods, Inc. – Purported interest in
                                                                       cash collateral of Dayton South, and
                                                                       Welcome, as discussed in paragraphs 28
                                                                       and 34 below, and in the documents
                                                                       referenced therein.



 4
   Notwithstanding any statements to the contrary herein, these disclosures and the disclosures made throughout this
 Motion do not constitute an admission or agreement by the Debtors to the validity, priority, or enforceability of any of the
 alleged security interests in the Debtors’ cash collateral or other assets or any admission concerning the validity, amount,
 or secured status of any of the associated claims. The Debtors do not waive any rights they might have to challenge any
 of these security interests, the related claims, or to assert any form of relief against the parties purporting to hold these
 claims.




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        Purposes for use of cash collateral          To fund ongoing profitable operations, to
        (Bankruptcy Rule 4001(b)(1)(B)(ii))          preserve the going concern value of the
                                                     Debtors, and to pay necessary
                                                     administrative expenses of these cases and
                                                     United States Trustee Fees

        Material terms for use of cash collateral Usage of cash collateral in accordance
        (Bankruptcy Rule 4001(b)(1)(B)(iii))      with budget attached as Schedule 1 to the
                                                  Order.

                                                      Monthly Adequate Protection
                                                      Payments in the amount of $36,000.00
                                                      to RSS WFCM2019-C50 – OH WG2,
                                                      LLC

                                                      Scheduled Payments of interest and
                                                      principal to the Small Business
                                                      Administration.


        Adequate protection package or               Debtors believe Secured Lender is likely
        explanation of why no adequate protection    oversecured and the value of their
        is necessary (Bankruptcy Rule                collateral will be increased by the
        4001(b)(1)(B)(iv))                           maintenance of the going concern value of
                                                     the Debtors. As adequate protection,
                                                     Secured Lender will receive periodic
                                                     payments as set forth in the Budget.

                                                     Debtors will be making scheduled
                                                     payments to U.S. Small Business
                                                     Administration.

        Provisions requiring highlighting under      The proposed order does not contain any
        Local Bankruptcy Rule 4001-2(B)              such provisions.



                                      MEMORANDUM

        1.     On September 1, 2023, ("the Petition Date"), the Debtors filed voluntary petitions

 in this Court for reorganization relief under Chapter 11 of Title 11 of the United States Code

 ("the Bankruptcy Code"). The Debtors intend to operate their businesses as a Debtor-in-

 Possession under Sections 1107(a) and 1108 of the Bankruptcy Code.

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        2.      No creditors' committee has yet been appointed in this case by the United States

 Trustee. No trustee or examiner has been appointed in the Debtor’s Chapter 11 case.

        3.      The Debtors filed these Chapter 11 proceedings in order to reorganize their debts

 and maintain their operations and employees.

        4.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and

 1334. Venue is proper pursuant to 28 U.S.C. §§1408 and 1409. The subject matter of this Motion

 is a core proceeding pursuant to 27 U.S.C. § 157(b).

        5.      The statutory predicates for the relief requested herein are Sections 105(a), 361,

 363, and 364 of the Bankruptcy Code, Federal Bankruptcy Rules 2002, 4001, 6004, and 9014,

 and Local Bankruptcy Rules 4001-2 and 6004-1.

        6.      InnViteOpco, Inc., owned solely by Abhijit (Andy) Vasani is the sole member

 and the manager of each of the Debtors. Each of the Debtors own a hotel located in Southwest

 Ohio. Debtor Welcome Group 2, LLC owns and operates the Super 8 located at 2440 National

 Road, Zanesville, Ohio 43701. Debtor Hillard Hotels, LLC owns and operates the Hampton Inn

 located at 1600 Hampton Court, Sidney, OH 45365. Debtor Dayton Hotels, LLC owns and

 operates the Hotel at Dayton South located at 8099 Old Yankee Road, Dayton, Ohio 45458.

        7.      The factual background regarding the Debtor, including its business operations

 and the events leading to this Chapter 11 Case, is set forth in the Declaration of Andy Vasani in

 Support of Chapter 11 Petition and First Day Motions (the “First Day Declaration”) filed

 contemporaneously herewith, which is incorporated herein by reference.



                                     RELIEF REQUESTED

        8.      It is imperative that the Debtors obtain authority to use cash collateral in order to

 continue funding their necessary business expenses and to fund the costs associated with the
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 administration of the Cases. The Debtors have set forth a proposed order (the “Order”, a copy of

 which is attached hereto as the Exhibit “A”) and a cash collateral budget (the “Budget”, a copy

 of which is attached as Schedule 1 to the Order) providing for the use of Cash Collateral (as

 defined in the Order) on an interim basis subject to the entry of a final order for relief authorizing

 the terms and conditions of the Debtor’s continued use of Cash Collateral.

         9.         The Debtors commenced these cases with the goal of restructuring their secured

 and unsecured debt in such a manner that provides maximum return to the creditor constituents

 while maintaining operations. To accomplish this goal, however, the Debtors will require the use

 of cash collateral. Without the use of this cash collateral, the Debtors would be required to

 terminate all business operations immediately, which would, in turn, result in the loss of

 employees’ jobs and significant diminution in the value of the Debtors hotels and assets.



                                           BASIS FOR RELIEF

         10.        Section 363(a) of the Bankruptcy Code provides that for purposes
 of that section:

                    “cash collateral” means cash, negotiable instruments, documents
                    of title, securities, deposit accounts, or other cash equivalents
                    whenever acquired in which the estate and an entity other than the
                    estate have an interest and includes the proceeds, products,
                    offspring, rents, or profits of property and the fees, charges,
                    accounts or other payments for the use or occupancy of rooms and
                    other public facilities in hotels, motels, or other lodging properties
                    subject to a security interest as provided in section 552(b) of this
                    title, whether existing before or after the commencement of a case
                    under this title.

 11 U.S.C. § 363(a). Section 552(b)(2) of the title in turn provides that, if a debtor and a creditor

 entered into a security agreement before the commencement of a case that extends to the

 amounts paid as fees, charges, accounts, or other payments for the use or occupancy of rooms

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 and other public facilities in hotels, motels, or other lodging properties, then such security

 interest extends to such rents and such fees, except to the extent that the court, after notice and a

 hearing and based on the equities of the case, orders otherwise. Thus, the portion of the Debtors’

 revenue that relates to room rentals would constitute cash collateral if a secured creditor had a

 properly perfected security interest in it.

         11.     Under Section 363(c)(2) of the Bankruptcy Code, the Debtor may not use cash

 collateral without the consent of the secured creditor or authority granted by the Court.

 Bankruptcy Code Section 363(e) provides that on request of an entity that has an interest in

 property to be used by a debtor, the Court shall prohibit or condition such use as necessary to

 provide adequate protection of such interest.

         12.     By this Motion, the Debtors request authority to use cash collateral on terms set

 forth in the Order. The Debtor's use of cash collateral, including the Debtor's agreement to

 provide replacement liens and other assurances as adequate protection in connection with such

 use, is authorized pursuant to § 363(c) of the Bankruptcy Code. Section 363(c)(1) of the

 Bankruptcy Code provides as follows: “If the business of the debtor is authorized to be operated

 under section 721, 1108, 1183, 1184, 1203, 1204 or 1304 of this title and unless the court orders

 otherwise, the trustee may enter into transactions, including the sale or lease of property of the

 estate, in the ordinary course of business without notice or a hearing, and may use property of the

 estate in the ordinary course of business without notice or a hearing.” However, section 363(c)(2)

 provides that the Debtor’s use of cash collateral is prohibited unless “(A) each entity that has an

 interest in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes

 such use, sale, or lease in accordance with the provisions of this section.”




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          THE SECURED LENDER OBLIGATIONS AND CASH COLLATERAL

        13.     On or about April 9, 2019, the Debtors executed and delivered to Secured Lender

 a Loan Agreement (the “Loan Agreement”). A true and accurate copy of the Loan Agreement is

 attached to the First Day Declaration as Exhibit “A” and is incorporated by reference herein.

        14.     On or about April 9, 2019, Debtors executed and delivered to Secured Lender a

 Promissory Note in the original principal sum of $21,300,000.00 (the “Note”). A true and

 accurate copy of the Note is attached to the First Day Declaration as Exhibit “B” and is

 incorporated by reference herein. Pursuant to Schedule 1A of the Loan Agreement,

 $2,475,000.00 of the original principal sum of the Note was allocated to Welcome Group 2, LLC

 (Super 8 Zanesville), $7,800,000.00 to Hilliard Hotels, LLC (Hampton Inn), and $3,750,000.00

 to Dayton Hotels, LLC (Hotel at Dayton South). In addition, $2,700,000.00 and $4,575,000.00 of

 the original principal sum of the Note was allocated to two additional non-debtor hotels, Elite

 Hospitality, LLC (Quality Inn and Suites) and Dayton Hotels 2, LLC (Best Western Plus

 Englewood), respectively.

        15.     Secured Lender filed a Complaint in the Montgomery County Common Pleas

 Court against Debtors on December 28 2021, Case No. 2021 CV 05237 (the “State Court

 Litigation”), alleging Debtors had defaulted under the terms of the Loan Agreement. Ultimately,

 the appointment of a Receiver was approved by the Montgomery County Common Pleas Court.

 The Receiver took over operational control of all three Debtor hotels and two non-debtor

 affiliated hotels on August 8, 2023, almost immediately shutting down the non-debtor affiliate

 hotels Quality Inn and Suites in Obetz, Ohio and Best Western Plus in Englewood, Ohio. A more

 detailed summary of the State Court Litigation is included with the First Day Declaration.




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        Hilliard Hotels, LLC Collateral

        16.     The Secured Lender asserts, as security for compliance with the terms of the Loan

 Agreement and Note, it properly perfected its security interest in certain collateral owned by

 Hilliard Hotels, LLC by recording (1) a mortgage (the “ Hilliard Mortgage”) recorded on April

 15, 2019 with the Shelby County, Ohio Recorder, instrument number 201900001739, (2) an

 assignment of rents (the “Hilliard Assignment of Rents”) recorded on April 15, 2019 with the

 Shelby County, Ohio Recorder, instrument number 201900003046, and (3) by filing a UCC-1

 Financing Statement on April 11, 2019 with the Ohio Secretary of State, Initial Filing Number

 OH00229716850 (the “Hilliard Financing Statement”).

        17.     True and accurate copies of the Hilliard Mortgage, Hilliard Assignment of Rents,

 and Hilliard Financing Statement (along with related assignments) are attached to the First Day

 Declaration as Exhibits “C”, “D”, and “E” respectively, and are incorporated by reference herein.

        18.     Secured Lender asserts through the State Court Litigation that it holds a first

 priority properly perfected security interest in all real and personal property of Hilliard Hotels,

 LLC (the “Hilliard Collateral”) based on the Hilliard Mortgage, Hilliard Assignment of Rents,

 and Hilliard Financing Statement.

        19.     Secured Lender asserts that the Hilliard Collateral includes but is not limited to

 the real estate located at 1600 Hampton Court, Sidney, OH 45365 which is valued at

 $10,800,000.00.

        20.     On or about August 19, 2020, Debtor Hilliard Hotels, LLC executed and

 delivered to the U.S. Small Business Administration (the “SBA”) a Loan Authorization and

 Agreement, promissory note, and security agreement, in the original principal sum of

 $150,000.00, which were subsequently amended on January 18, 2022 in the original amended

 principal sum $2,000,000.00 (collectively, the “Hilliard SBA Note”). The SBA asserts, as
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 security for compliance with the terms of the Hilliard SBA Note, it properly perfected its security

 interest in certain collateral owned by Hilliard Hotels, LLC by filing a UCC-1 Financing

 Statement on August 30, 2020 with the Ohio Secretary of State, Initial Filing Number

 OH00245926754 (the “Hilliard SBA Financing Statement”) True and accurate copies of the SBA

 Note and the Hilliard SBA Financing Statement are attached to the First Day Declaration as

 Exhibits “F” and “G” respectively, and are incorporated by reference herein.

        21.     Itria Ventures, LLC may claim a secured interest in the Hilliard Collateral

 pursuant to a UCC filed with the Ohio Secretary of State, Filing Number OH00238253708. See

 Exhibit “H” to the First Day Declaration. However, Debtor asserts that any purported security

 interest of Itria Ventures, LLC in the Hilliard Collateral is disputed and is wholly unsecured.

        Dayton Hotels, LLC Collateral:

        22.     The Secured Lender asserts, as security for compliance with the terms of the Loan

 Agreement and Note, it properly perfected its security interest in certain collateral owned by

 Dayton Hotels, LLC by recording (1) a mortgage (the “Dayton South Mortgage”) recorded on

 April 12, 2019 with the Montgomery County, Ohio Recorder, instrument number 2019-

 00018215, (2) an assignment of rents (the “Dayton South Assignment of Rents”) recorded on

 April 12, 2019 with the Montgomery County, Ohio Recorder, instrument number 2019-

 00018216, and (3) by filing a UCC-1 Financing Statement on April 11, 2019 with the Ohio

 Secretary of State, Initial Filing Number OH00229716850 (the “Dayton South Financing

 Statement”).

        23.     True and accurate copies of the Dayton South Mortgage, Dayton South

 Assignment of Rents, and Dayton South Financing Statement (along with related assignments)

 are attached to the First Day Declaration as Exhibits “I”, “J”, and “K” respectively, and are

 incorporated by reference herein.
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        24.     Secured Lender asserts through the State Court Litigation that it holds a first

 priority properly perfected security interest in all real and personal property of Dayton Hotels,

 LLC (the “Dayton South Collateral”) based on the Dayton South Mortgage, Dayton South

 Assignment of Rents, and Dayton South Financing Statement.

        25.     Secured Lender asserts that the Dayton South Collateral includes but is not

 limited to the real estate located at 8099 Old Yankee Road, Dayton, Ohio 45458 which is valued

 at $2,900,000.00.

        26.     On or about June 3, 2020, Debtor Dayton Hotels, LLC executed and delivered to

 the SBA a Loan Authorization and Agreement, promissory note, and security agreement, in the

 original principal sum of $150,000.00, (collectively, the “Dayton Hotels SBA Note”). The SBA

 asserts, as security for compliance with the terms of the Dayton Hotels SBA Note, it properly

 perfected its security interest in certain collateral owned by Dayton Hotels, LLC by filing a

 UCC-1 Financing Statement on June 12, 2020 with the Ohio Secretary of State, Initial Filing

 Number OH00241571888 (the “Dayton Hotels SBA Financing Statement”) True and accurate

 copies of the Dayton Hotels SBA Note and the Dayton Hotels SBA Financing Statement are

 attached to the First Day Declaration as Exhibits “L” and “M” respectively, and are incorporated

 by reference herein.

        27.     Itria Ventures, LLC may claim a secured interest in the Dayton South Collateral

 pursuant to a UCC filed with the Ohio Secretary of State, Filing Number OH00238253697. See

 Exhibit “N” to the First Day Declaration. However, Debtor asserts that any purported security

 interest of Itria Ventures, LLC in the Dayton South Collateral is disputed and is wholly

 unsecured.

        28.     U.S. Foods, Inc. may claim a secured interest in the Dayton South Collateral

 pursuant to its filing of a UCC-1 Financing Statement on August 25, 2020 with the Ohio
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 Secretary of State, Initial Filing Number OH00245783437. See Exhibit “O” to the First Day

 Declaration.

        Welcome Group 2, LLC Collateral

        29.     The Secured Lender asserts, as security for compliance with the terms of the Loan

 Agreement and Note, it properly perfected its security interest in certain collateral owned by

 Welcome Group 2, LLC by recording (1) a mortgage (the “ Welcome Mortgage”) recorded on

 April 19, 2019 with the Muskingum County, Ohio Recorder, instrument Number 201900003418,

 Book 2843, Page 863, (2) an assignment of rents (the “Welcome Assignment of Rents”) recorded

 on April 19, 2019 with the Muskingum County, Ohio Recorder, instrument number

 201900003419, Book 2843, Page 895, and (3) by filing a UCC-1 Financing Statement on April

 11, 2019 with the Ohio Secretary of State, Initial Filing Number OH00229716850 (the

 “Welcome Financing Statement”).

        30.     True and accurate copies of the Welcome Mortgage, Welcome Assignment of

 Rents, and Welcome Financing Statement (along with related assignments) are attached to the

 First Day Declaration as Exhibits “P”, “Q”, and “R” respectively, and are incorporated by

 reference herein.

        31.     Secured Lender asserts through the State Court Litigation that it holds a first

 priority properly perfected security interest in all real and personal property of Welcome Group

 2, LLC (the “Welcome Collateral”) based on the Welcome Mortgage, Welcome Assignment of

 Rents, and Welcome Financing Statement.

        32.     Secured Lender asserts that the Welcome Collateral includes but is not limited to

 the real estate located at 2440 National Road, Zanesville, Ohio 43701 which is valued at

 $3,500,000.00.


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          33.   Itria Ventures, LLC may claim a secured interest in the Welcome Collateral

 pursuant to a UCC filed with the Ohio Secretary of State, Filing Numbers OH00235121483 and

 OH00238251502. See Exhibit “S” to the First Day Declaration However, Debtor asserts that any

 purported security interest of Itria Ventures, LLC in the Welcome Collateral is disputed and is

 wholly unsecured.

          34.   U.S. Foods, Inc. may claim a secured interest in the Welcome Collateral pursuant

 to its filing of a UCC-1 Financing Statement on August 25, 2020 with the Ohio Secretary of

 State, Initial Filing Number OH00245783760. See Exhibit “T” to the First Day Declaration.



                 USE OF CASH COLLATERAL SHOULD BE APPROVED

          35.   Debtors desires to use cash collateral as defined in Section 363(a) of the

 Bankruptcy Code (the “Cash Collateral”) and provide adequate protection to the Secured Lender.

          36.   The determination of adequate protection is a fact-specific inquiry to be decided

 on a case-by-case basis. See In re Mosello, 195 B.R. 277, 288 (Bankr. S.D.N.Y. 1996); In re

 O'Connor, 808 F.2d 1393, 1396-97 (10th Cir. 1987). Adequate protection can be provided in a

 number of ways (see, e.g., 11 U.S.C. § 361), with the focus being to protect a secured creditor

 from diminution in the value of its interest in the collateral during the period of use. See In re

 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (purpose of adequate

 protection is "to safeguard the secured creditor from diminution in the value of its interest during

 the Chapter 11 reorganization"); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y.

 1986).

          37.   As of the Petition Date, the Secured Lender has not consented to the interim use

 of Cash Collateral; however, the Debtor needs immediate authority to use the Cash Collateral to

 fund ongoing business operations. The Debtor intends to provide sufficient adequate protection
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 to Secured Lender as more fully set forth herein and in the proposed Order to permit the use of

 the Cash Collateral.

        38.     Adequate protection is provided to Secured Lender by the Debtor by using Cash

 Collateral only in accordance with the Budget (except as otherwise authorized by this Court) and

 by making the payments to Secured Lender and the U.S. Small Business Administration as stated

 therein. Adequate protection is also provided by the re-granting of the pre-petition security

 interests to Secured Lender (not to extend beyond the collateral that secured the Loan from

 Secured Lender pre-petition).

        39.     In the event the Debtors are not permitted to use Cash Collateral, they will be

 unable to pay their necessary obligations to conduct business operations and their employees will

 be severely impacted. In short, the failure to utilize Cash Collateral will result in immediate and

 irreparable harm to the Debtors, and the Debtors state that interim relief pursuant to Bankruptcy

 Rule 4001 is appropriate.

        40.     The Budget details the necessary expenditures for the continued operations and

 viability of the Debtors, including the proposed adequate protection payments.

        41.     The Debtor prepared the budget using historical data and the current state of

 affairs, given a receiver currently occupies and operates the Debtor hotels. The Debtors assert

 that the Budget is feasible and the expenses stated therein are reasonable and necessary for the

 continued operation and viability of the Debtors. As indicated on the Budget, it is based upon the

 best information available to the Debtors and the Debtors’ principal and is subject to further

 review and the state of the facilities when the Debtors regain operational control of the hotels.

        42.     Therefore, the Debtor requests that the Court consider entry of the Proposed

 Interim Order (a) authorizing the Debtor from and after the entry of the Proposed Interim Order

 until a final hearing to utilize the Cash Collateral as provided in the Proposed Interim Order, and
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 (b) granting the adequate protection as provided in the Proposed Interim Order. This relief will

 enable the Debtor to operate its business in the ordinary course and avoid immediate and

 irreparable harm and prejudice to its estate and all parties in interest, pending a final hearing.



 The Interim Order Should be Entered.

        43.     Bankruptcy Rules 4001(b) and (c) provide that a final hearing on a motion to use

 cash collateral pursuant to Section 363 of the Bankruptcy Code and to obtain credit pursuant to

 Section 364 of the Bankruptcy Code may not be commenced earlier than fourteen (14) days after

 the service of such motion.



 Waiver of Requirement to File Memorandum of Law.

        44.     The Debtor states that this Motion does not present any novel issues of law

 requiring briefing and that the Motion adequately describes the issues presented. Therefore, the

 Debtor requests that the Court waive the requirement pursuant to Local Rule 9013-1(a) for a

 memorandum in support of this Motion.



 Compliance with Local Rule 4001-2(b)

        45.     Pursuant to Local Rule 4001-2(b), Debtor states that none of the terms included in

 the Proposed Order contain any of the provisions set forth in Local Rule 4001-2(b)(2)(A) through

 (b)(2)(Q).



 No Prior Request.

        46.     No previous request for the relief sought herein has been made to this Court or

 any other court.
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 Notice

          47.    Notice of this Motion will be provided to: (i) the Columbus office of the United

 States Trustee for Region 9: Southern District of Ohio; (ii) RSS WFCM2019-C50 – OH WG2,

 LLC, by and through counsel to its special service Rialto Capital, Advisors, LLC; (iii) the United

 States Small Business Administration; (iv) U.S. Attorney Columbus, (v) U.S. Attorney General,

 (vi) U.S. Foods, Inc. (vii) Itria Ventures, LLC, and (viii) each of the Debtors’ largest 20

 unsecured creditors. In light of the nature of the relief requested herein, the Debtor submits that

 no other or further notice is required. Because of the irreparable harm that threatens the

 Debtors if the relief requested herein is not timely granted, the Debtors have requested that

 an expedited hearing be held to consider this and the other First Day Motions and to

 approve the notice provided herein. A copy of the Motion will be served upon the parties

 noted above via telecopier, e-mail, ECF transmission, or overnight delivery, delivery prepaid, as

 soon as practicable after the entry of an order approving the form and manner of the First Day

 Notice or as otherwise ordered by the Court.



 Please take notice that the Debtor has filed a Motion for an Expedited Hearing to consider

 certain First Day Motions and Applications, including the foregoing. The Debtor shall

 serve notice of the expedited hearing date pursuant to further order(s) of this Court.



          For the reasons set forth herein and in the Proposed Order attached hereto as Exhibit “A”,

 Debtor respectfully requests the authority of this Court to authorize it to use cash collateral and

 to enter into the Proposed Order attached hereto as Exhibit “A”.


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                                    Respectfully Submitted:

                                    /s/ Ira H. Thomsen
                                    Ira H. Thomsen (0023965)
                                    Darlene E. Fierle (0081217)
                                    Denis E. Blasius (0082617)
                                    140 North Main Street, Suite A
                                    Springboro, Ohio 45066
                                    937-748-5001
                                    937-748-5003 (Fax)
                                    ithomsen@ihtlaw.com

                                    Thomsen Law Group, LLC
                                    Proposed Counsel for
                                    Debtors/Debtors-in-Possession




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                                          EXHIBIT “A
                                    PROPOSED INTERIM ORDER




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION AT COLUMBUS


IN RE:                                           *        CASE NO: 23-53043
                                                 *        (Chapter 11)
         Welcome Group 2, LLC1, et., al.         *
                                                 *
                                                 *        (Judge Mina Nami Khorrami)
         Debtor/Debtor-in-Possession.            *        (Joint Administration Proposed)
                                                 *

             INTERIM ORDER PERMTTING USAGE OF CASH COLLATERAL
              AND PROVDING ADEQUATE PROTECTION TO PURPORTED
             SECURED CREDITORS FOR THIS USAGE AND SCHEDULING A
          FINAL HEARING ON USAGE OF CASH COLLATERAL (Re: Docket No. 10)

         This matter comes before the Court on an expedited basis on the for the entry of an Interim

Order Authorizing the Debtor to use cash collateral, along with other requested relief (the “Motion”)2

(Doc. ___), pursuant to the provisions of 11 U.S.C. §§ 105, 361, and 363 Federal Rules of Bankruptcy

Procedure, Rules 2002, 4001, 6004 and 9014 and Local Bankruptcy Rules 4001-1, 4001-2 and 6004-

1, through and including the date of a final hearing on this Motion (the “Final Hearing”) and




1
  The Debtors are Welcome Group 2, LLC (Case No. 23-53043), Dayton Hotels, LLC (Case No. 23-53044), and Hilliard
Hotels, LLC (Case No. 23-53045).
2
  Capitalized terms used, but not defined in this Order, shall have the meanings ascribed to them in the Motion.
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providing purported secured creditors adequate protection for this usage during the period between

the entry of this motion and the Final Hearing. Having considered the Motion, the Rule 4001 Notice,

the First Day Declaration of Abhijit Vasani (Doc. ___), and the testimony and presentation at the

hearing held on September __, 2023 (the “Interim Hearing”), this Court finds on an interim basis for

the purposes of entering this Interim Order that:

        A.     It has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference entered by the United States District Court for the Southern District of

Ohio.

        B.     This matter is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (G), (K), (M) and

(O). This Court has jurisdiction over this proceeding and the parties and property affected hereby

pursuant to 28 U.S.C. §§ 157 and 1334.

        C.     Venue of this case and this matter is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        D.     Adequate notice of the Motion has been given under the circumstances. Notice of the

relief sought by the Motion, and the Interim Hearing with respect thereto, pursuant to Bankruptcy

Rules 2002 and 4001(b) and (d) and Bankruptcy Code Section 102(1), as required by Bankruptcy

Code Section 363(b) and Local Rules 4001-2(d) and 9013-3 has been given to the following parties

in interest: the U.S. Trustee, RSS WFCM2019-C50 – OH WG2, LLC c/o Rialto Capital Advisors,

LLC (“Secured Lender”) and its counsel, Itria Ventures (“Itria”) and its counsel, the United States

Small Business Association (“SBA”), U.S. Foods, and the creditors holding the twenty (20) largest

unsecured claims against the Debtors’ estate (collectively, the “Interim Noticed Parties”).

        E.     That authorizing the usage of Cash Collateral (as defined herein) on an interim basis is

necessary to avoid the immediate and irreparable harm that would occur if the Debtors have to shut

down operations in satisfaction of Local Rule 4001-2(c).

        F.     The relief requested in the Motion is in the best interests of the Debtors’ estates, their


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creditors, and other parties in interest.

        G.        The use of Cash Collateral (as defined in section 363(a) of the Bankruptcy Code) is

granted, only upon the terms and conditions contained in this Interim Order.

        H.        It is in the best interests of the Debtors’ creditors and estate that they be allowed to

continue their operations under the terms and conditions set forth herein.

It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

        1.        Motion Granted. The Motion is granted on an interim basis as set forth herein.

        2.        Authorization to Use Cash Collateral. The Debtors are hereby authorized to use Cash

Collateral, in accordance with the terms and conditions of this Interim Order.

        3.        Final Hearing. A final hearing (the “Final Hearing”) on the Motion shall be held on

October __, 2023 at ____:____ _.m. (prevailing Eastern Time). Any objections or responses to the

entry of the proposed Final Order shall be filed with the Court no later than ____________, 2023 at

4:00 p.m. (prevailing Eastern Time). If no timely objections or responses to entry of the Final Order

are filed, the Court may enter the Final Order without conducting the Final Hearing or providing

further notice.

        4.        Budget Limitations on Cash Collateral Usage. All Cash Collateral must be used strictly

in accordance with the terms of the budget attached hereto as Schedule 1 (the “Budget”). The Debtors

shall not, without the prior written consent of the Secured Lender or authorization by this Court, use

Cash Collateral with respect to any one “Operating Expense” line item in the Budget in excess of 10%

of the amount identified in the Budget for that line item for the period running through November 24,

2023 (the “Budget Period”) (other than current monthly utilities, which may not be in excess of 15%

of the amount identified in the Budget), provided, however, that the Debtors shall be permitted to pay

additional expenses of amounts in excess of over 10% above the “Operating Expense” line item to the

extent such overage is paid out net income over and above the amount shown in the Budget. Any


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unused amounts for one week may be rolled to the next week. Any extension or other modification

of the Budget shall be subject to either the prior written approval of the Secured Lender or the approval

of the Court.

       5.       Payments to Secured Lender. On or before the fifth day of each month in the Budget

Period, Debtors shall make a payment to Secured Lender of $36,000.00. The adequate protection

payment provided for herein is contained in the Budget.

       6.       As adequate protection for any diminution in the value of the Small Business

Administration’s asserted interests in the Cash Collateral, the Debtors shall also make scheduled non-

accelerated payments of principal and interest to the Small Business Administration.

       7.       All such payments identified in paragraphs 5 and 6 shall be subject to disgorgement if

the applicable creditor is later found to have no interest in the Cash Collateral. Nothing in this order

shall prejudice any party in interest’s rights with respect to how such payments impact the allowed

claim of any such entity asserting an interest in the Cash Collateral.

       8.       Adequate Protection of Secured Creditors’ Interests. As adequate protection for any

post-petition diminution in value of the interests of Secured Lender and the SBA’s pre-petition assets

of the Debtors (the “Pre-Petition Collateral”), including without limitation for any diminution in value

resulting from the use of Cash Collateral, the use, sale or lease of any other Pre-Petition Collateral, or

the imposition of the automatic stay, each such entity is hereby granted an administrative expense

claim against the Debtor’s estates for the full amount of such diminution, in accordance with Section

507(b) of the Bankruptcy Code, with priority over every other claim allowable under Section 507(a)

of the Bankruptcy Code (the “Adequate Protection Claim” or collectively, “Adequate Protection

Claims”). In order to secure each of their asserted Adequate Protection Claim, Secured Lender and

SBA are each hereby granted a lien, mortgage and security interest (the “Replacement Lien”) in and

upon (a) the Pre-Petition Collateral and all post-petition proceeds of the Pre-Petition Collateral, and


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(b) the post-petition assets acquired or generated by the Debtors’ estates (the “Post-Petition

Collateral” and, together with the Pre-Petition Collateral, the “Collateral”) and all proceeds thereof

to the same extent, validity and priority as its pre-petition security interest. Nothing in this Order shall

be deemed to grant any party a security interest in the Debtors’ claims under Chapter 5 of the

Bankruptcy Code or the proceeds thereof. The rights of all parties in interest to argue the relative

priority of these parties’ asserted liens in the Cash Collateral is preserved under this Interim Order.

          9.    The Replacement Liens granted under this Interim Order do not substitute for or in any

way alter the properly perfected and enforceable liens which any party might have in the Debtors’

assets.

          10.   Maintenance; Insurance; Governmental Charges. Except as otherwise provided herein,

the Debtors shall maintain the Collateral and ensure the proper maintenance of the Collateral,

including, as necessary, through incurrence and payment of expenses set forth in the Budget. The

Debtors, at their expense, shall (a) continue to at all times keep the Collateral fully insured against all

loss, peril and hazard and, and (b) pay any and all post-petition taxes, assessments and governmental

charges with respect to the Collateral that are not part of the escrowed payments.

          11.   Modification of Automatic Stay. The automatic stay provisions of Bankruptcy Code

Section 362 are hereby modified to permit (a) the Debtors to grant the Replacement Liens as adequate

protection to the entities being granted adequate protection, and (b) the Debtors to create, and the

entities being provided adequate protection to perfect, any and all liens, mortgagees and security

interests granted to it hereunder; provided, however, that the entities being provided adequate

protection shall not be required to file UCC financing statements or other instruments with any other

filing authority to perfect any lien, mortgage or security interest granted by this Interim Order or take

any other action to perfect such liens, mortgages and security interests, and such liens, mortgages and

security interests are hereby deemed perfected; provided however, that if an entity being provided


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adequate protection shall, in its sole discretion, elect for any reason to file, record or serve any such

financing statements or other documents with respect to such liens and security interests, the Debtors

shall execute the same upon request and the filing, recording or service thereof (as the case may be)

shall be deemed to have been made at the time and on the date required to implement the priority of

such liens and security interests as provided in this Interim Order.

       12.     Events of Default. The occurrence of any one or more of the following events shall

constitute a “Termination Event” under this Interim Order:

               (a)     the case is either dismissed or converted to a case under Chapter 7 of the

Bankruptcy Code;

               (b)     a trustee or examiner with expanded powers is appointed in the Case;

               (c)     any of the Debtors cease operations of their businesses or takes any material

action for the purpose of effecting such cessation without the prior written consent of Secured Lender

or filing a Motion with this Court seeking to do so;

               (d)     this Interim Order is reversed, vacated, stayed, amended, supplemented or

otherwise modified in a manner which shall materially and adversely affect the rights of Secured

Lender hereunder or shall materially and adversely affect the priority of any or all of Secured Lender’s

claims, liens or security interests and which is not acceptable to the Secured Lender;

               (e)     the Court shall not have entered a further interim order on the Motion or a Final

Order on or before the last day of the Budget Period covered by this Interim Order;

               (f)     the Debtors’ failure to comply with or perform the terms and provisions of this

Interim Order or any prior interim order entered in regard to the Motion, in strict adherence to the time

period set forth herein, including, without limitation, making the payments required by this Interim

Order and/or using Cash Collateral other than in accordance with the provisions of the Budget and

this Interim Order;


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               (g)     any superpriority claim or lien equal or superior in priority to that granted to

the parties being provided Adequate Protection pursuant to this Interim Order or permitted hereunder

shall be granted;

               (h)     the automatic stay of Bankruptcy Code Section 362 is lifted so as to allow a

party other than the Secured Lender to proceed against any material asset of the Debtors, the

materiality of which is to be determined by this Court.

       13.     Remedies Upon Termination. Upon the occurrence of a Termination Event, the giving

by a secured party of written notice of such event, and after the expiration of ten days after receipt of

notice for the Debtor(s) to cure such event and Debtor(s)’ failure to do so:

               (a)     any and all Adequate Protection Claims shall be immediately due and payable,

and the Debtors’ authorization to use Cash Collateral shall terminate; and

               (b)     the Debtors shall immediately segregate all Cash Collateral, and shall not be

permitted to use Cash Collateral unless Secured Lender shall have given its prior written consent or

the Court shall have entered an order, after a hearing upon notice to the Secured Lender, authorizing

such use.

       14.     Reporting Obligations. The Debtors:

               (a)     shall deliver monthly to Secured Lender and the United States Trustee, no later

than the close of business five (5) days after the end of the month, a breakdown by line-item, in the

same format as the Budget, of the Debtors’ actual cash receipts and disbursements for the immediately

preceding month, which shows such actual receipts and disbursements for the applicable period

compared to such receipts and disbursements for the applicable period as projected in the Budget,

such report to be certified by an officer of of the Debtors to be accurate to the best of his/her

knowledge, information and belief;




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               (b)     shall deliver to Secured Lender and the United States Trustee or file with the

Court, no later than twenty (20) calendar days after the end of each month a copy of the Debtors’

monthly operating reports for such month;

               (c)     shall deliver to Secured Lender and the United States Trustee, within five (5)

calendar days of the Debtors’ receipt thereof, copies of all audited financial statements or other similar

financial statements which reflect the Debtors’ assets and liabilities and results of operations; and

       15.     Books and Records. The Debtors are directed to keep their books and records of

original entry current and updated, so that all business activity is posted to them in the ordinary course

of the Debtors’ businesses.

       16.     Payment of Professional Fees and Insiders. Notwithstanding any other provision of

this Interim Order, payment of professional fees (including for any attorney, accountant or property

manager) from Cash Collateral pursuant to the Budget or otherwise shall be subject to the Bankruptcy

fee application process. Retained professionals shall make such applications in accordance with any

separate order establishing procedures for monthly and interim compensation and reimbursement of

expenses for professionals, or as otherwise required by applicable law or rules.             Payment of

compensation to professionals, including to the Debtors’ counsel, may be made only to the extent so

ordered by the Court upon ruling on a fee application.

       17.     Additional Documents. The Debtors are hereby authorized to do and perform all acts

and to make, execute and deliver all instruments and documents which may be required or necessary

for the performance of their obligations hereunder.

       18.     Immediate Effect. As permitted by Bankruptcy Rule 6004(h), the Court hereby orders

that this Interim Order shall become effective immediately.

       19.     Survival After Confirmation, Conversion or Dismissal. The provisions of this Interim

Order and any actions taken pursuant thereto shall survive entry of any orders which may be entered


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confirming any plan of reorganization or which may be entered converting this Case from Chapter 11

to Chapter 7 of the Bankruptcy Code; provided, further, that the terms and provisions of this Interim

Order, as well as the liens, mortgages and security interests granted thereunder, shall continue in these

Cases or any successor cases and such liens, mortgages and security interests and the Adequate

Protection Claim shall maintain their priority as provided by this Interim Order.

       20.     No Limitation of Modification of Order. Nothing in this Interim Order shall limit the

rights of any secured party to seek modification of this Interim Order.

       21.     No Prejudice of Rights Against Third Parties. Nothing in this Interim Order shall in

any way prejudice or compromise any rights that the Secured Lender may have against parties other

than the Debtors.

       22.     Effect on Third Parties. The provisions of this Interim Order shall be binding on all

third parties provided that any other secured party may be provided adequate protection for its interests

in the Pre-Petition Collateral, if any, which adequate protection shall not contradict or otherwise

interfere with the terms of the Interim Order.

       23.     Service of this Order. Within three (3) business days after the entry of this Interim

Order, the Debtors shall serve a copy on those parties as ordered by the court.

       24.     Binding Effect. The provisions of this Interim Order shall be binding upon and inure

to the benefit of the secured creditors, the Debtors, the Debtors’ estates and their respective successors

and assigns (including any trustee appointed as a representative of the Debtors’ estates or in any

successor case).

       25.     Controlling Effect. To the extent that any provision of this Interim Order conflicts with

any provision of any of governing documents for any pre-petition secured indebtedness of the Debtors,

which shall remain in full force and effect, this Interim Order is deemed to control and shall supersede

the conflicting provision(s).


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       26.     In the event this Interim Order is extended, all of the provisions hereof shall remain in

full force and effect, except to the extent otherwise provided for in an order of the Court extending

this Interim Order.

IT IS SO ORDERED.


Copies to:

Default List Plus Top 20.

Tami Hart Kirby
Porter Wright Morris & Arthur LLP
One S. Main St., Suite 1600
Dayton, Ohio 45402

Itria Ventures, LLC
1 Penn Plaza, Suite 4530
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Andrew Pincus
Seidman & Pincus LLC
777 Terrace Avenue, Suite 508
Hasbrouck Heights, New Jersey 07064

Noah Schottenstein
DLA Piper LLP (US)
1900 N. Pearl St, Suite 2200
Dallas, Texas 75201-2482

Small Business Administration
Santa Ana Loan Liquidation Center,
200 W Santa Ana Blvd., Ste 740,
Santa Ana, California 92701




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                                                                                                                       SCHEDULE 1
  Super 8/Welcome Group 2Cash Collateral Budget
       Dayton South Cash Collateral Budget
    Hampton Inn/Hilliard Cash Collateral Budget
Projected Income Statement and Usage of Cash Collateral



Weekly Period                                                   9/4/2023          9/11/2023         9/18/2023         9/25/2023         10/2/2023       10/9/2023       10/16/2023         10/23/2023        10/30/2023         11/6/2023       11/13/2023       11/20/2023       11/27/2023 Total
                Week Numbers starting 9/4/23                              1                 2                 3                 4               5               6                  7                 8                  9              10              11               12                13
Summary


Operating Revenue
Room Department                                                84,500.00          84,500.00         84,500.00         84,500.00         85,000.00       86,000.00       85,000.00          85,000.00         85,000.00          74,000.00       74,000.00        74,000.00        74,000.00    $1,060,000.00


Total Operating Revenue                                       $84,500.00      $84,500.00        $84,500.00        $84,500.00        $85,000.00      $86,000.00      $85,000.00         $85,000.00        $85,000.00         $74,000.00      $74,000.00       $74,000.00       $74,000.00 $1,060,000.00


Operational Expenses
Room Department and Room Supplies                               5,500.00           5,500.00          5,500.00          5,500.00          6,250.00        6,250.00        6,250.00           6,250.00          6,250.00           4,100.00        4,100.00         4,100.00         4,100.00         $69,650.00


Payroll/Contract Wages                                         16,500.00          16,500.00         16,500.00         16,500.00         16,500.00       16,500.00       16,500.00          16,500.00         16,500.00          14,750.00       14,750.00        14,750.00        14,750.00        $207,500.00



Total Departmental Expenses                               $   22,000.00       $22,000.00        $22,000.00        $22,000.00        $22,750.00      $22,750.00      $22,750.00         $22,750.00        $22,750.00         $18,850.00      $18,850.00       $18,850.00       $18,850.00       $ 277,150.00


Room Department Income                                         62,500.00          62,500.00         62,500.00         62,500.00         62,250.00       63,250.00       62,250.00          62,250.00         62,250.00          55,150.00       55,150.00        55,150.00        55,150.00        782,850.00


Miscellaneous Income                                            2,250.00           2,250.00          2,250.00          2,250.00          1,950.00        1,950.00        1,950.00           1,950.00          2,300.00           2,300.00        2,300.00         2,300.00         2,300.00         $28,300.00



Total Departmental Income                                 $   64,750.00       $64,750.00        $64,750.00        $64,750.00        $64,200.00      $65,200.00      $64,200.00         $64,200.00        $64,550.00         $57,450.00      $57,450.00       $57,450.00       $57,450.00       $ 811,150.00


Undistributed Operating Expense
Administrative & General                                        4,750.00           4,750.00          4,750.00          4,750.00          5,750.00        5,750.00        5,750.00           5,750.00          4,750.00           3,750.00        3,750.00         3,750.00         3,750.00         $61,750.00
Information & Telecom System                                    2,150.00           2,150.00          2,150.00          2,150.00          2,150.00        2,150.00        2,150.00           2,150.00          2,150.00           2,150.00        2,150.00         2,150.00         2,150.00         $27,950.00
Franchise Fees/Sales & Marketing                               13,500.00          13,500.00         13,500.00         13,500.00         14,500.00       14,500.00       14,500.00          14,500.00         12,500.00           9,000.00        9,000.00         8,000.00         8,000.00        $158,500.00
Property Operations & Maintenance                               6,000.00           6,000.00          6,000.00          6,000.00          5,850.00        5,850.00        5,850.00           4,350.00          3,850.00           3,750.00        3,750.00         3,750.00         3,750.00         $64,750.00
Utilities                                                       7,000.00           7,000.00          7,000.00          7,000.00          6,000.00        7,000.00        7,000.00           7,000.00          6,500.00           6,000.00        6,000.00         6,000.00         6,000.00         $85,500.00



Total Undistributed Operating Expense                     $   33,400.00       $33,400.00        $33,400.00        $33,400.00        $34,250.00      $35,250.00      $35,250.00         $33,750.00        $29,750.00         $24,650.00      $24,650.00       $23,650.00       $23,650.00       $ 398,450.00


Gross Operating Profit                                    $   31,350.00       $31,350.00        $31,350.00        $31,350.00        $29,950.00      $29,950.00      $28,950.00         $30,450.00        $34,800.00         $32,800.00      $32,800.00       $33,800.00       $33,800.00       $ 412,700.00


Management Fees                                                 3,250.00           3,250.00          3,250.00          3,250.00          3,250.00        3,250.00        3,250.00           3,250.00          3,250.00           3,250.00        3,250.00         3,250.00         3,250.00         $42,250.00
Insurance                                                       2,400.00           2,400.00          2,400.00          2,400.00          2,400.00        2,400.00        2,400.00           2,400.00          2,400.00           1,200.00        1,200.00         1,200.00         1,200.00         $26,400.00
Professional Fees/Other Fees                                    3,000.00           3,000.00          3,000.00          3,000.00          3,000.00        3,000.00        3,000.00           3,000.00          3,000.00           3,000.00        3,000.00         3,000.00         3,000.00         $39,000.00
CAT Tax                                                               -                 -                 -                 -            1,500.00        1,500.00              -                 -                  -                 -               -                 -                -           $3,000.00
Capex/Reserve                                                    300.00              300.00            300.00            300.00            300.00          300.00          300.00             300.00            300.00             300.00          300.00           300.00           300.00          $3,900.00
Payments to RSS                                                 9,000.00           9,000.00          9,000.00          9,000.00          9,000.00        9,000.00        9,000.00           9,000.00          9,000.00           9,000.00        9,000.00         9,000.00         9,000.00        $117,000.00
Real Estate taxes                                               3,500.00           3,500.00          3,500.00          3,500.00          2,750.00        2,750.00        2,750.00           5,750.00          7,500.00           4,000.00        2,500.00         2,500.00         2,500.00         $47,000.00
SBA EIDL                                                        3,131.00           3,131.00          3,131.00          3,131.00          3,131.00        3,131.00        3,131.00           3,131.00          3,131.00           3,131.00        3,131.00         3,131.00         3,131.00         $40,703.00
Misc                                                            6,300.00           6,300.00          6,300.00          6,300.00          4,200.00        4,200.00        4,650.00           3,200.00          5,700.00           8,500.00       10,000.00        11,000.00        11,000.00         $87,650.00
Total Other Expense                                       $   30,881.00       $30,881.00        $30,881.00        $30,881.00        $29,531.00      $29,531.00      $28,481.00         $30,031.00        $34,281.00         $32,381.00      $32,381.00       $33,381.00       $33,381.00       $ 406,903.00
Net Operating Income                                      $      469.00       $     469.00      $     469.00      $     469.00      $     419.00    $     419.00    $     469.00       $     419.00      $     519.00       $     419.00    $     419.00     $     419.00     $     419.00     $     5,797.00
US Trustee Fees                                           $      345.12       $     345.12      $     345.12      $     345.12      $     346.12    $     350.12    $      345.92      $      346.12     $      347.12      $     303.52    $      303.52    $      303.52    $      303.52          $4,330.01
NET after US Trustee Fees                                 $      123.88       $     123.88      $     123.88      $     123.88      $       72.88   $       68.88   $      123.08      $       72.88     $      171.88      $     115.48    $      115.48    $      115.48    $      115.48          $1,466.99
